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15                         UNITED STATES DISTRICT COURT
16                       CENTRAL DISTRICT OF CALIFORNIA
17   MIRAMAX, LLC,                            Case No. 2:21-cv-08979 FMO (JCx)
18                              Plaintiff,    PLAINTIFF MIRAMAX, LLC’S
                                              OPPOSITION TO DEFENDANTS’
19          vs.                               MOTION FOR JUDGMENT ON
                                              THE PLEADINGS
20   QUENTIN TARANTINO; VISIONA
     ROMANTICA, INC.; and DOES 1–50,          Date: July 21, 2022
21                                            Time: 10:00 a.m.
                                Defendants.   Judge: Hon. Fernando M. Olguin
22
                                              Discovery Cut-Off: August 17, 2022
23                                            Pretrial Conference: February 10, 2023
                                              Trial: February 28, 2023
24
                                              [Filed concurrently with the
25                                            Declaration of Kyle A. Casazza in
                                              Support of Miramax’s Opposition,
26                                            Plaintiff’s Request for Judicial Notice,
                                              and [Proposed] Order Denying
27                                            Defendants’ Motion]
28


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 1                                     INTRODUCTION
 2         Defendants are roughly half right about the rights to Pulp Fiction. As one of
 3   the authors of what would become the blockbuster movie, Quentin Tarantino at one
 4   point had extensive rights to some elements that ultimately comprised the film. But
 5   he assigned and transferred virtually all of those rights to Miramax in June 1993,
 6   carving out only a specifically enumerated, limited set of “Reserved Rights” far
 7   narrower than Defendants’ 12(c) Motion (the “Motion”) suggests.1 Shockingly,
 8   Defendants    try   to   excuse    their   infringing   behavior   through    multiple
 9   mischaracterizations of the parties’ rights, including overlooking dispositive language
10   from the operative agreements in their moving papers.
11         Defendants omit crucial contractual language in their description of
12   Tarantino’s broad grant of rights to Miramax. Defendants claim that “Mr. Tarantino
13   agreed to grant to Miramax: . . . all rights (including all copyrights and trademarks)
14   in and to the Film . . . but excluding only the following reserved rights.” Motion,
15   ECF 29, at 6 (alterations and emphasis in original).
16         However, Defendants’ ellipses misleadingly gloss over language that is fatal to
17   their motion. The actual language of the Original Rights Agreement states that
18   Tarantino granted to Miramax “all rights (including all copyrights and trademarks) in
19   and to the Film (and all elements thereof in all stages of development and
20   production) now or hereafter known including without limitation the right to
21   distribute the Film in all media now or hereafter known (theatrical, non-theatrical,
22   all forms of television, home video, etc.) but excluding only the following reserved
23   rights.” Complaint, Ex. A, ECF 1-1 (“Original Rights Agreement”), ¶ 2 (emphasis
24   added). This language, in which Tarantino assigned to Miramax the rights to “all
25   elements” of the Film including “the right to distribute the Film in all media now or
26   hereafter known,” illustrates why Defendants’ Motion must be denied. Miramax
27   1
      While not at issue in this Motion, discovery in this case has exposed that the
28   narrowing of Tarantino’s reserved rights was at the core of the parties’ negotiations
     back in 1993.
                                               1
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 1   acquired broad rights to the Pulp Fiction screenplay and other elements of the film,
 2   as well as rights to use those elements in new technologies like non-fungible tokens.
 3         Defendants argue that “[a]s a matter of copyright law, in order to prevent Mr.
 4   Tarantino from exercising dominion over the Screenplay, Miramax would have to
 5   allege that at some point it was assigned rights not in the Film, but in the Screenplay.”
 6   Motion at 14. Miramax has alleged precisely that by quoting the complete language
 7   Defendants conveniently omit from the Original Rights Agreement and other relevant
 8   agreements where Tarantino assigned to Miramax the rights to Pulp Fiction “and all
 9   elements thereof in all stages of development and production,” including “all
10   copyrights and trademarks.”     Miramax has also alleged that Defendants’ sale of
11   Pulp Fiction NFTs incorporated pictures of a handwritten screenplay and other
12   elements of Pulp Fiction owned by Miramax—which Defendants billed as “secrets”
13   of the “film”—and that Defendants used visual elements from both Pulp Fiction and
14   another Miramax film in their marketing of the NFTs without Miramax’s consent.
15   Miramax’s allegations are sufficient to support Miramax’s claims for copyright
16   infringement, breach of contract, and trademark infringement/unfair competition.
17         Defendants’ arguments rely on an incomplete, misleading factual history of
18   their contractual rights and a strained reading of those limited rights. Put simply, non-
19   fungible tokens, which host and display unique content using blockchain technology,
20   were not (and could not have been) contemplated by the parties in 1993. The reason
21   is simple: that technology did not exist.        Rather, Tarantino’s right to “print
22   publication,” a subset of which is “screenplay publication,” is naturally understood to
23   account for formats that actually existed at the time the Original Rights Agreement
24   was entered into, namely print and electronic versions of books. While Defendants
25   are trying to use this lawsuit to expand their “screenplay publication” rights, all of
26   their prior “screenplay publication” deals have been “traditional publishing deals” for
27   paper and electronic books of the complete, final screenplay to Pulp Fiction.
28
                                                 2
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 1         The plain meanings of “print publication” and “screenplay publication” in the
 2   relevant agreements at the time control interpretation nearly three decades later, and
 3   while there should be no question that the relevant agreements prohibit what
 4   Defendants did here, any ambiguities or other disputed factual issues make resolution
 5   under Rule 12(c) impossible. In short, Defendants have not met their heavy burden
 6   of showing that they are entitled to judgment as a matter of law. Their Motion must
 7   be denied.
 8                              FACTUAL BACKGROUND
 9        A.      The 1993 Negotiations and Contractual Dealings
10         The 1994 Miramax film Pulp Fiction was written and directed by Quentin
11   Tarantino, and produced by non-party Lawrence Bender, in collaboration with Brown
12   25 Productions, Inc. (“B25 Productions”). Complaint, ECF 1 (“Complaint”), ¶ 18.
13   The film was also based in part on earlier material written by non-party Roger Avary.
14   Original Rights Agreement, ¶ 12; Request for Judicial Notice, ECF 29-1
15   (“Defendants’ RFJN”), Ex. 1 at 1. To make the film, Tarantino and Bender assigned
16   virtually all of their rights in and to Pulp Fiction to Miramax Film Corp., predecessor-
17   in-interest to Miramax. Complaint, ¶ 19.
18         Effective as of June 23, 1993, Tarantino, Bender, and Miramax entered into the
19   Original Rights Agreement, “relating to the production and financing” of Pulp Fiction
20   “and the acquisition by Miramax of the Film.” Original Rights Agreement, ¶ 1;
21   Complaint, ¶ 19. The Original Rights Agreement defines the “Film” as “[t]he motion
22   picture PULP FICTION, to be produced by [Tarantino and Bender] in color, 35mm,
23   in the English language, in the 2.35:1 aspect ratio conforming to the specifications set
24   forth herein and containing the elements required hereunder.” Original Rights
25   Agreement, ¶ 1 (emphasis added). Some of those “elements” are listed in the Original
26   Rights Agreement, and explicitly include the “Screenplay.” Id., ¶ 14.2
27   2
       This kind of arrangement was—and still is—customary in the film industry. A
28   treatise co-authored by one of Defendants’ counsel explains: “A motion picture is a
     joint work consisting of a number of contributions by different ‘authors,’ including
                                               3
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 1         Under the Original Rights Agreement, Tarantino and Bender granted to
 2   Miramax “all rights (including all copyrights and trademarks) in and to the Film (and
 3   all elements thereof in all stages of development and production).” Id., ¶ 2
 4   (emphasis added).     Accordingly, subject only to Tarantino’s limited “Reserved
 5   Rights” (discussed below), Miramax generally owns the rights to any versions of the
 6   Pulp Fiction screenplay—including any early handwritten versions or portions
 7   thereof. Id.; Complaint, ¶¶ 20-21, 46. The broad grant of rights to Miramax was
 8   forward-looking and expansive, including “all rights . . . to the Film . . . now or
 9   hereafter known including without limitation the right to distribute the Film in all
10   media now or hereafter known.” Original Rights Agreement, ¶ 2.
11         Tarantino carved out for himself only a static, limited, specifically enumerated
12   set of “Reserved Rights,” one of which is the right to “print publication.” Id. The
13   right to “print publication” includes a still-narrower right to “screenplay publication.”
14   Id. The Original Rights Agreement does not define “print publication” or “screenplay
15   publication.” See generally Original Rights Agreement. As one of the enumerated
16   “Elements” under the Original Rights Agreement, “Screenplay” is defined: “May
17   1993, 159 pages.” Id., ¶ 14.
18         After assigning away nearly all his rights in Pulp Fiction to Miramax, including
19   most of his rights to the screenplay, as of July 10, 1993, Tarantino and B25
20   Productions entered into a letter agreement regarding Pulp Fiction under which
21
     the writer of the screenplay, the director, the photographer, the actors, and, arguably,
22   other contributors such as the set and costume designers, etc. The screenplay (i.e.,
     the script containing the precise dialogue and action) becomes a part of such joint
23   work when it is recast into the audiovisual form of the resulting motion picture.” 1
     Nimmer on Copyright § 6.05. As noted above, the motion picture Pulp Fiction was
24   based in part on Tarantino’s screenplay, and also based in part on earlier material
     written by non-party Roger Avary, which had been previously registered with the
25   U.S. Copyright Office as “Pandemonium Reigned.” Original Rights Agreement,
     ¶ 12; Defendants’ RFJN, Ex. 1 at 1. The book version of the screenplay from RFJN,
26   Ex. 2, refutes Defendants’ claim that the Pulp Fiction screenplay was completed
     before the June 23, 1993 effective date of the Original Rights Agreement, by
27   explicitly noting that the screenplay was revised three additional times after that
     date. See Motion at 6; Casazza Decl., ¶ 10 & Ex. I (indicating that the May 1993
28   version of the screenplay was revised three additional times: August 18, 1993,
     September 8, 1993, and October 5, 1993).
                                                  4
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 1   Tarantino granted B25 Productions, in connection with the production of the film, the
 2   right to acquire certain of his rights “in, to, and underlying the original screenplay.”
 3   See Complaint, Ex. B, ECF 1-2 (“B25 Agreement”). Both the Original Rights
 4   Agreement and B25 Agreement incorporated by reference the then-applicable WGA
 5   [Writer’s Guild of America] Basic Agreement. Original Rights Agreement, ¶ 20; B25
 6   Agreement ¶¶ 4, 7.3 Under Paragraph 4 of the B25 Agreement, in which Tarantino
 7   represented and warranted that he was the “sole owner and author of the Screenplay,”
 8   Tarantino also agreed that his representation and warranty would be “subject to the
 9   substantive provisions of Article 28 of the WGA Agreement (as if the WGA
10   Agreement applied to [that] agreement).” B25 Agreement, ¶ 4.
11         Under the operative WGA Agreement, “[t]he term ‘screenplay’ means the final
12   script with individual scenes, full dialogue and camera setups.” Declaration of Kyle
13   A. Casazza in Support of Miramax’s Opposition (“Casazza Decl.”), Ex. A (emphasis
14   added).4
15         Pursuant to the Original Rights Agreement, the transfer of Tarantino’s limited
16   rights in the screenplay under the B25 Agreement required Miramax’s consent.
17   Complaint, ¶ 23. In a letter to Tarantino’s counsel also dated as of July 10, 1993,
18   Miramax consented to Tarantino’s “transfer of certain rights” pursuant to the B25
19   Agreement, subject to the conditions that “nothing contained in the [B25 Agreement]
20   shall diminish or derogate from the rights granted to Miramax under the [Original
21   Rights Agreement],” and “[i]n the event of any conflict between the [B25 Agreement]
22   and the [Original Rights Agreement], the [Original Rights Agreement] shall control.”
23   See Complaint, Ex. C, ECF 1-3 (“Miramax Limited Consent Letter”). Accordingly,
24   to the extent Tarantino purported to assign rights in the Pulp Fiction screenplay to
25   B25 Productions that he had already assigned to Miramax, the assignment to Miramax
26   in the Original Rights Agreement controls. See id.
27   3
       While Tarantino was not a WGA member, the agreements memorialized his intent
28   to be treated as one. See B25 Agreement, ¶ 7.
     4
       The industry definition remains the same today. Casazza Decl., Ex. B.
                                               5
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 1           In another letter agreement effective as of July 10, 1993, written by B25
 2    Productions, Tarantino, Bender, B25 Productions, and Miramax acknowledged that
 3    the rights granted by Tarantino to B25 Productions in the B25 Agreement “are not
 4    inconsistent with the rights granted by Tarantino to Miramax under the [Original
 5    Rights Agreement].” See Complaint, Ex. D, ECF 1-4 (“B25 Productions Letter”),
 6    ¶ 2. The B25 Productions Letter noted that while Bender and Tarantino were jointly
 7    identified as the “Producer” granting rights under the Original Rights Agreement, “as
 8    of the date of the [Original Rights Agreement], as between Tarantino and Bender,
 9    Tarantino was the sole and exclusive owner of all rights in the Screenplay and the
10    Picture.” Id., ¶ 1 (emphasis added). The B25 Productions Letter acknowledged that
11    upon delivery of Pulp Fiction and Miramax Films’ related payment, Miramax would
12    “acquire all of [B25 Productions’] rights in and to the Picture (other than any rights
13    [B25 Productions] may have in any Tarantino Reserved Rights) subject to the terms
14    and conditions of the Inter-Party Agreement.” Id., ¶ 4.5
15           On July 15, 1993, Tarantino executed a notarized assignment dated as of June
16    23, 1993, for the benefit of Miramax, in which Tarantino again assigned to Miramax
17    the
18          sole and exclusive right under copyright, trademark or otherwise to
            distribute, exhibit and otherwise exploit all rights (other than the [Tarantino
19          Reserved Rights]) in and to the motion picture entitled “Pulp Fiction” (the
            “Work”) (and all elements thereof in all stages of development and
20          production) now or hereafter known including, without limitation, the right
            to distribute the Work in all media now or hereafter known (theatrical, non-
21
      5
22      The B25 Productions Letter incorporates by a reference an “Inter-Party
      Agreement, dated as of September 20, 1993, by and among [B25 Productions],
23    Miramax, Film Finances, Inc., and Bank of American National Trust and Savings
      Association.” B25 Productions Letter at 1. A related “Notice” dated as of
24    September 20, 1993, signed by Bender for B25 Productions, acknowledges that
      Miramax acquired “the sole and exclusive right under copyright, trademark or
25    otherwise to distribute, exhibit and otherwise exploit all rights (other than
      [Tarantino’s “Reserved Rights’]) in and to the motion picture entitled ‘Pulp Fiction’
26    (the ‘Work’) (and all elements thereof in all stages of development and production)
      now or hereafter known including, without limitation,, [sic] the right to distribute
27    the Work in all media now or hereafter known (theatrical, nontheatrical, all forms of
      television and ‘home video’) in perpetuity, throughout the Universe, as more
28    particularly set forth and upon and subject to the terms and conditions in the
      [Original Rights Agreement].” Complaint, ¶ 30; Casazza Decl., Ex. C.
                                                 6
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           theatrical, all forms of television and “home video”) in perpetuity,
 1         throughout the Universe, as more particularly set forth and upon and subject
           to the terms and conditions in [the Original Rights Agreement].
 2
 3    Complaint, Ex. E, ECF 1-5 (“Tarantino-Miramax Assignment”).                 Under the
 4    Tarantino-Miramax Assignment, Tarantino also agreed “to secure or cause to be
 5    secured all United States copyrights in and to the Work, including renewals thereof,
 6    if applicable, and hereby assigns the rights under said renewal copyrights to
 7    [Miramax] . . . .” Id. The Tarantino-Miramax Assignment was recorded with the
 8    U.S. Copyright Office on August 6, 1993 as document number V2917P169.
 9    Complaint, ¶ 27.
10          Prior to this dispute, Defendants’ only purported exploitations of Tarantino’s
11    Reserved Right to screenplay publication “were all traditional publishing deals
12    granting rights to publish the screenplay in book format, and in one instance, the right
13    to publish the screenplay in book and electronic formats.” ECF 25-1 (“Joint Stip.”)
14    at 12. The copyright registration related to Exhibit 2 to Defendants’ Request for
15    Judicial Notice relates to the 1994 book version of “Pulp Fiction: A Screenplay”
16    published by Hyperion. Defendants’ RFJN, Ex. 2 at 2 (listing the “Copyright
17    Claimant” as “Quentin Tarantino c/o Hyperion”); Casazza Decl., Ex. G (identifying
18    Hyperion as a publisher).
19         B.     Defendants’ Sale of Unauthorized NFTs
20          On November 2, 2021, eager to cash in on a then-red-hot market for NFTs,
21    Tarantino and Secret Network (a.k.a. SCRT Labs) announced Defendants’ plan to
22    “auction off 7 uncut Pulp Fiction Scenes as Secret NFTs.” Complaint, ¶¶ 1, 35. The
23    Press Release included a quote from Tarantino himself, expressing his “excite[ment]
24    to be presenting these exclusive scenes from PULP FICTION to fans.” Complaint,
25    ¶ 39. These “exclusive scenes from PULP FICTION” were not marketed as complete
26    versions of the final Pulp Fiction screenplay. See generally Complaint, ¶¶ 38-41. A
27    promotional website for the NFTs (the “Website”) also launched, claiming:
28
                                                  7
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           The collection holds secrets from Pulp Fiction, one of the most influencing
 1         artworks of the ’90s. Each NFT contains one or more previously unknown
           secrets of a specific iconic scene from Pulp Fiction. The privileged person
 2         who will purchase one of these few and rare NFTs will get a hold of those
           secrets and a glimpse into the mind and the creative process of Quentin
 3         Tarantino.
 4    Complaint, ¶¶ 1, 41. The Website noted that Tarantino “is enamored with Pulp
 5    Fiction – a timeless creation, and as such wanted to give the public a new glimpse
 6    into the iconic scenes of the film.” Id. The Website prominently used the “Pulp
 7    Fiction” name, and included unauthorized likenesses of Pulp Fiction characters Jules
 8    Winnfield (played by Samuel L. Jackson), Vincent Vega (played by John Travolta),
 9    and Mia Wallace (played by Uma Thurman). See Complaint, ¶ 40.
10          Miramax controls the rights to use those characters’ likenesses, and never
11    consented to the use of them or any other Miramax-owned elements from Pulp Fiction
12    in connection with the NFT sale. Complaint, ¶ 37. Miramax was not even contacted
13    by Tarantino or any of his representatives prior to the November 2, 2021
14    announcement. Id. Shortly after the announcement, Miramax sent a cease-and-desist
15    letter. Complaint, ¶ 43. But days later, misuse of Miramax’s intellectual property
16    intensified, as the Twitter account for the NFT sale used not only unauthorized
17    imagery relating to Pulp Fiction, but also an animated scene from a different Miramax
18    film. Complaint, ¶¶ 47-48.
19          To protect its rights to Pulp Fiction, Miramax filed this lawsuit on November
20    16, 2021. In January of 2022, Defendants nonetheless went forth with their auction.
21    On January 24, 2022, SCRT Labs reported that the first of seven NFTs, “Royale with
22    Cheese,” sold for $1.1 million to “Secret Network’s very first NFT collective.”6 The
23    second NFT, “Pumpkin and Honey Bunny,” was posted for sale but was never sold,
24    and there were no reports of that NFT attracting any bids. SCRT Labs instead
25
26    6
       See SCRT Labs Announces Triumphant Sale of First Never-Before-Seen-Or-Heard
27    Tarantino NFT for $1.1 Million, Business Wire (Jan. 24, 2022, 7:00 AM),
      https://www.businesswire.com/news/home/20220121005513/en/SCRT-Labs-
28    Announces-Triumphant-Sale-of-First-Never-Before-Seen-Or-Heard-Tarantino-
      NFT-for-1.1-Million.
                                               8
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 1    announced that it was postponing the sale of the remaining six NFTs.7
 2          While Defendants have contended that the seven NFTs contain “no other
 3    embellishment or additions to the actual screenplay scans themselves,” Defendants
 4    have maintained that they cannot provide complete copies of the content associated
 5    with the NFTs, including the “never . . . seen or heard,” “uncut first handwritten
 6    scripts of ‘Pulp Fiction’ and exclusive custom commentary from Tarantino, revealing
 7    secrets about the film and its creator.” Complaint, ¶ 38; see Casazza Decl., ¶ 12.
 8                                   LEGAL STANDARD
 9          Judgment on the pleadings is appropriate only in rare instances where there are
10    no unresolved issues of fact and the moving party is entitled to judgment as a matter
11    of law. Hal Roach Studios, Inc. v. Richard Feiner & Co., 896 F.2d 1542, 1550 (9th
12    Cir. 1989). Because Rule 12(c) is “functionally identical” to Rule 12(b)(6), the same
13    standard of review applies to motions brought under either rule. Cafasso v. Gen.
14    Dynamics C4 Sys., 637 F.3d 1047, n.4 (9th Cir. 2011) (quoting Dworkin v. Hustler
15    Magazine, Inc., 867 F.2d 1188, 1192 (9th Cir. 1989)). All allegations of fact by the
16    opposing party must be accepted as true and construed in the light most favorable to
17    that party. Gen. Conf. Corp. of Seventh-Day Adventists v. Seventh-Day Adventist
18    Congregational Church, 887 F.2d 228, 230 (9th Cir. 1989). It is therefore well-settled
19    that a motion under Rule 12(c) must be denied where there are allegations in the
20    complaint that, if proved, would permit recovery. Chavez v. United States, 683 F.3d
21    1102, 1108 (9th Cir. 2012).
22          The Motion must be denied here because Defendants’ conduct permits
23    recovery on all of Miramax’s claims. Defendants have done their best to obfuscate
24    both Miramax’s rights and Defendants’ conduct. However, Miramax has stated
25    viable claims, and at most, Defendants present contractual ambiguities and factual
26    disputes, which are both fatal to a 12(c) motion.
27
      7
28     See @LegendaoNFT, Twitter (Jan. 28, 2022, 3:59 PM),
      https://twitter.com/LegendaoNFT/status/1487168591556456448.
                                              9
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 1                                        ARGUMENT
 2          Defendants’ disingenuous motion depends entirely on the false premise that
 3    Miramax’s rights in and to Pulp Fiction go no further than the 154-minute motion
 4    picture. For the first time, Defendants claim that “[n]o copyrights in the Screenplay
 5    were ever assigned to Miramax, and Mr. Tarantino reserved all rights in the
 6    Screenplay, except the right to create the film Pulp Fiction, which he assigned to [B25
 7    Productions],” Motion at 11 (emphasis added), but unambiguous contract language
 8    contradicts that claim.
 9          Since June 1993, Miramax has held “all rights (including all copyrights and
10    trademarks) in and to [Pulp Fiction] (and all elements thereof in all stages of
11    development and production),” subject to Tarantino’s limited “Reserved Rights.”
12    Original Rights Agreement, ¶ 2 (emphasis added). The Original Rights Agreement is
13    explicit that the “Screenplay” is one of those many “elements” to which Miramax
14    owns the rights, so Miramax holds virtually all rights to the Pulp Fiction screenplay
15    “in all stages of development and production,” aside from Tarantino’s “Reserved
16    Rights,” which include a static right to “print publication” (including “screenplay
17    publication”), as those terms were understood in 1993. See id., ¶¶ 2, 14. Unlike
18    Tarantino’s “Reserved Rights,” the broad grant of rights to Miramax was forward-
19    looking, including “all rights . . . now or hereafter known including without limitation
20    the right to distribute the Film in all media now or hereafter known.” Original Rights
21    Agreement, ¶ 2. Tarantino’s “Reserved Rights,” including specifically his right to
22    “print publication,” are further restricted by the Original Rights Agreement. Id.8
23          After wrongly claiming that Miramax does not have the rights to most elements
24    of Pulp Fiction, Defendants then claim, contrary to Miramax’s allegations, that
25    “nothing in the Press Release [for the NFT sale] states or in any way suggests that the
26
      8
27      For example, Miramax has its own limited right to screenplay publication for
      promotional purposes. Original Rights Agreement, ¶ 2. Miramax also has “the
28    right of first negotiation and last matching rights to any and all deals for
      . . . novelization, [and] ‘making of’ books.” Id., ¶ 9.
                                                  10
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 1    NFTs contain any New Matter from the Film,” and “nothing to which the Miramax
 2    complaint cites on [the Pulp Fiction NFT] website suggests that any New Matter from
 3    the Film is embodied in the NFTs such that the auction could constitute copyright
 4    infringement.” Motion at 18. The complaint contradicts those claims, and for
 5    purposes of a 12(c) motion, Defendants’ unverified claim that the NFTs themselves
 6    do not utilize elements of Pulp Fiction owned by Miramax cannot defeat Miramax’s
 7    allegations otherwise.9 Also, there is no genuine dispute that Defendants’ contractual
 8    partner in the NFT sale used visual elements of Pulp Fiction and footage from another
 9    Miramax film in connection with the NFT sale, which is copyright infringement by
10    itself. Further, even if—contrary to the marketing materials for the NFTs—the NFTs
11    contain literally no elements of Pulp Fiction other than scans of some handwritten
12    pages of a draft screenplay, “pen on paper,” Motion at 12, Defendants do not have the
13    rights under the Original Rights Agreement to mint and sell digital collectibles based
14    on those images.
15          Defendants’ 12(c) motion is defective as to each of Miramax’s claims.
16    Miramax states a textbook copyright infringement claim based on the use of elements
17    of a film Miramax acquired by contract (as well as elements of another Miramax
18    film). Defendants’ breaches of that contract give rise to Miramax’s breach of contract
19    claim, and while Defendants have limited rights to use the “Pulp Fiction” mark in
20    connection with authorized uses of Tarantino’s “Reserved Rights,” Defendants have
21    no such rights in connection with the unauthorized uses here. Defendants’ motion
22    should be denied.
23
24
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26
      9
27     Defendants’ failure to produce complete copies of the content associated with the
      NFTs should also preclude Defendants from maintaining—contrary to Miramax’s
28    allegations—that the content does not include elements of Pulp Fiction owned by
      Miramax. See Casazza Decl., ¶ 12.
                                                11
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 1         A.     Defendants Are Judicially Estopped From Alleging Any Rights to Pulp
 2                Fiction in This Litigation Other Than Tarantino’s “Reserved Right” to
 3                “Screenplay Publication”
 4          A party that “assumes a certain position in a legal proceeding, and succeeds in
 5    maintaining that position,” may not then take a contrary legal position.          New
 6    Hampshire v. Maine, 532 U.S. 742, 749 (2001). A party is judicially estopped from
 7    making an argument that contradicts an earlier argument that was the basis for their
 8    success. See Thomas v. Kent, 2019 WL 2590170, at *3 (C.D. Cal., May 30, 2019)
 9    (Olguin, J.).
10          Earlier this year, Defendants successfully evaded production of all documents
11    concerning any intellectual property rights Defendants contend they have in Pulp
12    Fiction by claiming that with respect to the Pulp Fiction NFTs, they were relying only
13    on the Reserved Right of screenplay publication.10 See Casazza Decl., Ex. D.
14    Magistrate Judge Chooljian ruled that Miramax was entitled to document discovery
15    only on Defendants’ exploitation of their “screenplay publication” right, based on
16    Defendants’ representations.
17         THE COURT: Okay. So, for part one, the portion of the screenplay, that
           particular content, the only thing Defendant is relying on is the screen right
18         publication reserved right and, to the extent the title is used, the provision
           of that which allows Mr. Tarantino to use the title for -- in connection with
19         that dissemination. Is that right?
20         MR. KAPLAN: That's correct, your Honor.
21    Casazza Decl., Ex. D at 15:17-24; see also id. at 14:16-15:5.
22          In their 12(c) motion, Defendants repeatedly take a very different position,
23    arguing instead that Miramax has no rights to the Pulp Fiction screenplay, and that
24    Tarantino has essentially unfettered control of any copyrights in and to that
25    screenplay. Specifically, Defendants now claim that Tarantino never assigned “any
26    rights in the Screenplay to Miramax,” that he has “the exclusive copyright in the
27    10
        Specifically, Miramax requested “All DOCUMENTS and COMMUNICATIONS
28    CONCERNING any copyrights, trademarks, or other intellectual property rights
      that YOU contend YOU have CONCERNING Pulp Fiction.” Joint Stip. at 10.
                                              12
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 1    underlying Screenplay,” that the Pulp Fiction screenplay “is the primary and
 2    independent copyrighted work at issue in this case,” that “No Copyrights To The
 3    Screenplay Were Ever Assigned To Miramax,” that “neither Mr. Tarantino nor any
 4    successor in interest ever transferred any exclusive rights in the Screenplay to
 5    Miramax,” and that “the copyrights in the Screenplay were not conveyed to Miramax
 6    under any of the agreements.” Motion at 2, 12, 14-16 (emphases added).
 7          These claims are all verifiably false and directly contradicted by documents
 8    attached to Miramax’s Complaint. But having prevailed by arguing that a limited,
 9    “Reserved Right” to “screenplay publication” is the “only thing [Tarantino] is relying
10    on,” Defendants are estopped from arguing that a different, broader set of rights
11    excuse their unauthorized conduct. See, e.g., Thomas, 2019 WL 2590170 at *3.
12         B.     Miramax Has Alleged Facts Sufficient to Establish a Claim for
13                Copyright Infringement
14                a. Miramax Has a Textbook Copyright Infringement Claim
15          In order to bring an action for copyright infringement, a copyright holder need
16    only allege facts sufficient to demonstrate (1) ownership of a valid copyright and (2)
17    copying of original elements from the protected work. Feist Publ’ns, Inc. v. Rural
18    Tel. Serv. Co., 499 U.S. 340, 361 (1991). Miramax has done both.
19                      i. Miramax Alleges Ownership of a Valid Copyright
20          Pursuant to the Original Rights Agreement, and as set forth in the Complaint,
21    Miramax owns “all rights (including all copyrights and trademarks) in and to [Pulp
22    Fiction] (and all elements thereof in all stages of development and production).”
23    Original Rights Agreement, ¶ 2 (emphasis added); Complaint, ¶ 20 (emphasis added).
24    Again, those elements explicitly include the screenplay. Original Rights Agreement,
25    ¶ 14. Miramax went on to memorialize its rights by, among other things, registering
26    copyrights with the U.S. Copyright Office bearing Registration Numbers
27    PA0000704507 and VA0001224051.           Complaint, ¶ 33.     These facts alone are
28    sufficient to demonstrate ownership of a valid copyright. See 17 U.S.C. § 410. In
                                                13
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 1    fact, Defendants do not dispute (nor could they) that these copyrights were validly
 2    registered. See Motion at 5.
 3          Defendants oversimplify the parties’ rights to Pulp Fiction by arguing that
 4    Miramax holds only some rights to the finished motion picture, while alleging that
 5    Tarantino holds virtually all rights to the screenplay and even rights to make
 6    derivative works from elements of the screenplay. Defendants misleadingly claim
 7    that Tarantino granted to Miramax all rights “in and to the Film . . . but excluding
 8    only the following reserved rights.”      Motion at 6 (emphasis and alterations in
 9    original). But, that ellipsis omits pertinent contractual language and covers up a key
10    conveyance of rights: Miramax obtained broad rights to “all elements” of Pulp
11    Fiction, including “all elements thereof in all stages of development and production.”
12    Original Rights Agreement, ¶ 2. Tarantino retained limited “Reserved Rights,”
13    including to “print publication,” but Miramax’s rights necessarily include at least
14    some rights to the screenplay. See Complaint, ¶ 32.
15          As a matter of contract interpretation, that must be the case. Otherwise,
16    Tarantino’s reservation of more limited, specific rights makes no sense. If the parties’
17    intent were for Tarantino to retain the unencumbered copyright to the screenplay, and
18    for Miramax to not have broad rights to that screenplay, then there would have been
19    no reason for Tarantino to reserve more limited and specific rights to “print
20    publication” or “screenplay publication.” The same goes for almost all of Tarantino’s
21    Reserved Rights—there would be no need to enumerate them if Tarantino retained
22    broad rights to elements of Pulp Fiction. See id., ¶ 21.
23          Defendants go on to argue that “[b]ecause the Screenplay is an original work
24    that is the subject of copyright protection, the rights in all copyrightable elements of
25    the Screenplay reside with the author (Mr. Tarantino) unless and until some or all
26    of those rights are expressly assigned or licensed.” Motion at 12 (emphasis added).
27    That assignment is exactly what happened here. In the Original Rights Agreement,
28    Tarantino expressly granted to Miramax all rights to Pulp Fiction “and all elements
                                                 14
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 1    thereof in all stages of development and production”—i.e., the rights in all
 2    copyrightable elements that Tarantino once held. Original Rights Agreement, ¶ 2.
 3    The language of the Original Rights Agreement could not have been more clear,
 4    expressly including “all copyrights and trademarks” in those elements in the grant to
 5    Miramax. Id.11
 6           As a practical matter, this sweeping grant of rights was necessary for the
 7    production of the motion picture. The Ninth Circuit Court of Appeals has recognized
 8    this “reality,” acknowledging that “contracts . . . govern much of the big-budget
 9    Hollywood performance and production world.” Garcia v. Google, Inc., 786 F.3d
10    733, 743 (9th Cir. 2015) (en banc). Put another way, contracts—like the Original
11    Rights Agreement here—are necessary to prevent disputes about who owns each and
12    every copyrightable element in a finished work. Defendants’ theory of this case
13    ignores this reality, and instead “make[s] Swiss cheese [out] of copyrights.” Id. at
14    742.
15                       ii. Tarantino’s “Screenplay Publication” Right Was Intended to
16                            Cover Book Versions of the Final Screenplay
17           Contracts must be interpreted in line with the parties’ intent at the time of
18    contracting. See Cal. Civ. Code § 1636; see also Stilstaf, Inc. v. CVS Caremark Corp.,
19    669 F.3d 1005, 1014-15 (9th Cir. 2012) (“Under California law, the fundamental goal
20    of contract interpretation is to give effect to the mutual intent of the parties as it existed
21    at the time of contracting.”) (emphasis added) (internal quotation marks and citations
22    omitted).   To determine intent, courts routinely look to (1) “the circumstances
23    surrounding formation of the agreements”; (2) “the construction given the contract by
24    the acts and conduct of the parties with knowledge of its terms . . . before any
25
      11
26       Defendants argue that “for exclusive rights in the screenplay to have been
      transferred, the assignment would have to have been in writing,” and that “Miramax
27    does not identify any documentary transfer of rights to it in the Screenplay in its
      complaint.” Motion at 15 (citing 17 U.S.C. § 204(a)). This argument is not true.
28    As set forth throughout the Complaint, Tarantino transferred most of his rights in
      the screenplay to Miramax, in writing, in the Original Rights Agreement.
                                                 15
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 1    controversy arises as to its meaning”; and (3) “trade usage and custom or standard of
 2    the industry.” S. Pac. Transp. Co. v. Santa Fe Pac. Pipelines, Inc., 74 Cal. App. 4th
 3    1232, 1242 (1999).
 4          Throughout the Motion, Defendants overstate the few rights Tarantino actually
 5    “reserved.”   Tarantino’s Reserved Rights, as set forth in the Original Rights
 6    Agreement and alleged in the Complaint, are a static, specifically enumerated set of
 7    rights, one of which is the limited right to print publication. Original Rights
 8    Agreement, ¶ 2 (emphasis added). The right to “screenplay publication” appears only
 9    in a parenthetical list of examples of “print publication.”12 Id. Neither of those terms
10    would have been understood in 1993 to include digital collectibles depicting visual
11    images of parts of an earlier draft screenplay—and Defendants claim that the contents
12    associated with the NFTs in question primarily consist of visual images of parts of
13    the “pen on paper” draft screenplay.
14          The terms “print publication” and “screenplay publication” would have been
15    understood in 199313 to refer to book versions of screenplays (like the one depicted
16    at the end of this paragraph). Consistent with that understanding, Tarantino’s prior
17    exploitations of those rights were book versions of the final Pulp Fiction screenplay
18    in its entirety. Joint Stip. at 10 (“These publishing agreements simply reflect that
19    Tarantino believed that he had at least the right to publish his screenplay in book or
20    electronic format.”). Likewise, the copyright identified in Exhibit 2 to Defendants’
21    Request for Judicial Notice is for a paperback book of the screenplay, published by
22    Miramax Books and Hyperion:
23
24
      12
25       The Reserved Rights’ subsequent reference to “audio and electronic formats” is
      discussed (see infra Section B.a.ii.) in detail below.
      13
26       Defendants claim “publication,” as used in the Original Rights Agreement, is
      synonymous with “publication” under the Copyright Act. See Motion at 19-20.
27    But, if Tarantino’s “publication” rights were the same as the statutory right to
      “publication” under the Copyright Act, the parties’ spelling out of specific
28    publication rights would be superfluous. See generally Original Rights Agreement,
      ¶ 2.
                                                  16
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11    Casazza Decl,. Exs. E, F.
12          Defendants make much of the fact that Tarantino’s reservation of the right to
13    “print publication” includes reference to “audio and electronic formats.” Motion at
14    19. But non-fungible tokens were not (nor could they have been) contemplated by
15    the parties while negotiating the Original Rights Agreement. The parties therefore
16    could not have intended “audio and electronic formats” to include non-fungible
17    tokens, which host and display associated content on a ledger called the blockchain.
18    Non-fungible tokens and blockchain technology, particularly for film-related
19    collectibles, could not have been contemplated in 1993.
20          Rather, the reference to “audio and electronic formats” is naturally understood
21    to account for formats that existed and were used at the time of the Original Rights
22    Agreement, such as audiobooks and electronic novels.           Consistent with this
23    construction, prior to November 2021, Defendants’ exploitations of Tarantino’s
24    “Reserved Rights” to the screenplay “were all traditional publishing deals granting
25    rights to publish the screenplay in book format, and in one instance, the right to
26    publish the screenplay in book and electronic formats.” Joint Stip. at 12. Likewise,
27    the parties were well aware of the necessity to include specific language should they
28    wish to grant forward-looking rights accounting for the emergence of new
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 1    technologies, as evidenced by the forward-looking rights granted to Miramax in the
 2    same paragraph of the same agreement. See Original Rights Agreement ¶ 2 (granting
 3    to Miramax “all rights . . . in and to the Film . . . now or hereafter known”) (emphasis
 4    added). The absence of this language in the Reserved Rights rebuts any argument by
 5    Defendants that the reference to “electronic versions” was intended to cover film-
 6    related collectibles accessible through blockchain technology.14
 7                     iii. Any Contractual Ambiguities Would Preclude Resolution on a
 8                          Motion for Judgment on the Pleadings
 9          To the extent there is any question whether the 1993 “Reserved Right” to
10    “screenplay publication” could ever extend beyond book versions of the complete
11    Pulp Fiction screenplay and encompass collectible non-fungible tokens associated
12    with scans of selected pages from an earlier handwritten draft, there is a contractual
13    ambiguity that defeats Defendants’ motion. See, e.g., Monsanto Co. v. PacifiCorp,
14    144 F. App’x 597, 599 (9th Cir. 2005) (affirming denial of judgment on the pleadings
15    and associated finding that contract was ambiguous as a matter of law because the
16    disputed provision was “reasonably susceptible to conflicting interpretations”).
17          “A contract or a provision of a contract is ambiguous if it is reasonably
18    susceptible of more than one construction or interpretation.” Casteneda v. Dura-Vent
19    Corp., 648 F.2d 612, 619 (9th Cir. 1981). California courts determine whether an
20    14
         Additionally, the “Reserved Right” to “screenplay publication” is further
21    narrowed by the meaning of “screenplay.” The Original Rights Agreement makes
      clear that the “screenplay” at issue is the one from “May 1993, 159 pages.”
22    Original Rights Agreement, ¶ 14. This is further supported by the WGA definition
      of “screenplay,” which is “the final script with individual scenes, full dialogue and
23    camera setups.” Casazza Decl., Ex. A (emphasis added). As such, in the
      negotiations surrounding the Original Rights Agreement, the parties understood the
24    right to “screenplay publication,” as a subset of “print publication,” to mean the
      right to publish the complete, final version of the screenplay. And again,
25    Defendants’ conduct prior to the NFT sale is consistent with that construction. Joint
      Stip. at 12. The screenplay-specific copyright registrations identified by Defendants
26    refer to the same 159-page screenplay, and a 160-page book, respectively.
      Defendants’ RFJN, Exs. 1, 2. By virtue of having “never been seen,” the
27    handwritten script pages included with the NFTs cannot be part of the 159-page
      “Screenplay” identified in the Original Rights Agreement or deposited with the
28    Copyright Office, or the 160-page screenplay published as a book by Hyperion. See
      Complaint, ¶ 38; Original Rights Agreement, ¶ 14; Defendants’ RFJN, Exs. 1, 2.
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 1    ambiguity exists by not only looking at the face of the contract, but also any extrinsic
 2    evidence that supports a reasonable interpretation. See First Nat. Mortg. Co. v. Fed.
 3    Realty Inv. Tr., 631 F.3d 1058, 1067 (9th Cir. 2011) (citing Morey v. Vannucci, 64
 4    Cal. App. 4th 904, 912 (1998)). And California law provides that extrinsic evidence
 5    can be offered not only where it is obvious that a contract term is ambiguous, but also
 6    to expose a latent ambiguity. S. Pac. Transp. Co., 74 Cal. App. 4th at 1241.
 7          Unless a court can say for certain, and by a mere reading of the document itself,
 8    what the correct interpretation is, “extrinsic evidence becomes admissible as an aid .
 9    . . and may prevent a court from definitively interpreting the contract as a matter of
10    law” on a motion to dismiss or motion for judgment on the pleadings. KST Data, Inc.
11    v. Northrop Grumman Sys. Corp., 2019 WL 2619638, at *6 (C.D. Cal. Apr. 17, 2019)
12    (quoting Burch v. Premier Homes, LLC, 199 Cal. App. 4th 730, 741-42 (2011)); see
13    also Pinkerton Tobacco Co., LP v. Art Factory AB, 2020 WL 8515015, at *3 (C.D.
14    Cal. Dec. 24, 2020) (denying motion for judgment on the pleadings, and likewise
15    finding that “a 12(c) motion is an improper vehicle to resolve the meaning of the
16    agreement,” because extrinsic evidence was needed to interpret the scope of disputed
17    provisions). “Indeed, it is reversible error for a trial court to refuse to consider such
18    extrinsic evidence on the basis of the trial court’s own conclusion that the language
19    of the contract appears to be clear and unambiguous on its face.” First Nat. Mortg.
20    Co., 631 F.3d at 1067.
21          For all of the reasons set forth in this Section, a reasonable interpretation of the
22    Original Rights Agreement requires one to conclude that Tarantino’s Reserved
23    Rights do not—and, as a practical matter, could not—give him the right unilaterally
24    to sell the Pulp Fiction NFTs. But at the very least, it is evident that an ambiguity
25    might exist as to the meaning the parties assigned as to the right to “print publication,”
26    including “screenplay publication.” Compare, e.g., Motion at 19 (“Mr. Tarantino
27    specifically reserved his rights to publish the Screenplay, and the auction sales of the
28    NFTs are a publication of the Screenplay.”), with Complaint, ¶ 46 (“[T]he proposed
                                                  19
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 1    sale of a few original script pages or scenes as an NFT is a one-time transaction, which
 2    does not constitute publication, and in any event does not fall within the intended
 3    meaning of ‘print publication’ or ‘screenplay publication.’”).
 4          For a 12(c) motion, the Court must accept as true Miramax’s allegation that
 5    “the proposed sale of a few original script pages or scenes as an NFT . . . does not fall
 6    within the intended meaning of ‘print publication’ or ‘screenplay publication’” as
 7    contemplated by the parties at the time they entered into the Original Rights
 8    Agreement.” Complaint, ¶ 46; see Indep. Living Ctr. of S. Cal. v. City of Los Angeles,
 9    205 F. Supp. 1105, 1108 (C.D. Cal. 2016) (Olguin, J.) (On a 12(c) motion, “[t]he
10    court must accept all factual allegations in the complaint as true, and construe them
11    in the light most favorable to the non-moving party.”). The evidence from the 1993
12    negotiations will show as much, and Defendants’ Motion should be denied
13    accordingly.15
14                b. Miramax Alleges Defendants Copied and Utilized Original Elements
15                     From Pulp Fiction Belonging to Miramax
16          Miramax has also alleged facts sufficient to satisfy the second element of its
17    copyright claim—i.e., that Defendants copied original elements of Pulp Fiction in
18    their minting and sale of Pulp Fiction NFTs. As already noted above, with the
19    exception of a handful of Reserved Rights, Tarantino’s grant of rights to Miramax
20    15
        Defendants’ reliance on the short-form assignment dated September 3, 1993
21    further illustrates why their Motion must be denied. Although Defendants refer to
      this document as the “Screenplay Assignment,” Miramax alleges that this
22    assignment—which was attached to the Complaint as Exhibit F—was void.
      Compare Motion at 7, with Complaint, ¶ 29 (referring to Exhibit F as the “Void
23    Tarantino-B25 Assignment”). Defendants argue that Tarantino executed the Void
      Tarantino-B25 Assignment to “memorializ[e] the limited grant of copyrights in the
24    Screenplay to Brown 25.” Motion at 7. However, Miramax plausibly alleges that it
      was not involved with this assignment and did not consent to it, thus making it
25    void. See Complaint, ¶ 29. Defendants’ reliance on a document which the
      complaint alleges was void raises a factual dispute that must be resolved in favor of
26    Miramax at this stage, so Defendants’ Motion must be denied. In any event, to the
      extent any of Tarantino’s rights in and to Pulp Fiction other than his “Reserved
27    Rights” belonged to B25 Productions after the Original Rights Agreement, B25
      Productions assigned any of its remaining rights in and to Pulp Fiction upon
28    delivery of the film in 1994. See B25 Productions Letter, ¶ 4; Casazza Decl., Exs.
      C, E-F.
                                                 20
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 1    was a grant of “all rights” to Pulp Fiction, including “all elements . . . in all stages of
 2    development and production.” Original Rights Agreement, ¶ 2.
 3          Miramax plausibly alleges, based on the Press Release and Website for the NFT
 4    auction, that the seven NFTs incorporate original elements of Pulp Fiction to which
 5    Miramax holds the rights. Promotional materials for the NFTs claim that:
 6         The collection holds secrets from Pulp Fiction, one of the most influencing
           artworks of the ’90s. Each NFT contains one or more previously unknown
 7         secrets of a specific iconic scene from Pulp Fiction. The privileged person
           who will purchase one of these few and rare NFTs will get a hold of those
 8         secrets and a glimpse into the mind and the creative process of Quentin
           Tarantino.
 9
10    Complaint, ¶¶ 1, 41. The marketing materials claim that the inspiration for this project
11    was the fact that Tarantino was “enamored” with Pulp Fiction and that the NFTs
12    would include “secrets about the film.” Complaint, ¶¶ 38, 41.
13          These materials suggest that the content associated with the Pulp Fiction NFTs
14    consists of more than just “electronic images of the Screenplay,” as Defendants
15    suggest.16 Motion at 1.     Rather, buyers were promised that “[t]he collection holds
16    secrets from Pulp Fiction,” and “[e]ach NFT contains one or more previously
17    unknown secrets of a specific iconic scene from Pulp Fiction, and that “privileged”
18    purchasers “will get a hold of those secrets.” Complaint, ¶ 1. Those “secrets” are
19    elements of Pulp Fiction which belong to Miramax, and not to Defendants, and
20    including them as content associated with non-fungible tokens therefore infringes on
21    Miramax’s rights.
22          Miramax’s Complaint also conclusively shows that in marketing the NFTs,
23    Defendants used “unauthorized images of characters from the film,” including “Jules
24    Winnfield (played by Samuel L. Jackson), Vincent Vega (played by John Travolta),
25    and Mia Wallace (played by Uma Thurman).” Complaint, ¶ 40. These allegations
26    16
        Despite Miramax’s efforts to obtain copies of the content associated with the
27    NFTs through discovery in this case, Defendants have stonewalled their efforts
      repeatedly. Casazza Decl., ¶ 12. As a result, Miramax remains in the dark as to the
28    precise content that has been sold or was created in connection with the sale of the
      Pulp Fiction NFTs.
                                                21
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 1    alone should defeat Defendants’ motion. Lucasfilm Ltd. LLC v. Ren Ventures Ltd.,
 2    2018 WL 5310831, at *1 (N.D. Cal. June 29, 2018) (finding copyright infringement
 3    was established as a matter of law where “defendants used images and dialogue from
 4    [plaintiff’s] two movies and television episode on a Facebook page and Twitter
 5    account” to market their product).
 6          Further, even if the Pulp Fiction-related content associated with each NFT
 7    consisted only of some pictures of the “pen on paper” screenplay, Miramax’s
 8    allegations remain sufficient to state a claim for copyright infringement. Again,
 9    despite Defendants’ misleading use of ellipses to obfuscate the pertinent language,
10    Tarantino granted to Miramax “all elements [of Pulp Fiction] . . . in all stages of
11    development and production,” including the screenplay in all versions from start to
12    finish. Original Rights Agreement, ¶¶ 2, 14. Defendants plainly admit to copying at
13    least portions of the screenplay in the very first paragraph of their answer,
14    acknowledging that “an NFT version of a portion of [the] original screenplay would
15    be offered at auction.” See Answer, ECF 17, ¶ 1; see also Motion at 9 (“In the case
16    of the Tarantino NFTs, the Press Release makes clear that the digital content
17    associated with the NFTs include digital images of portion [sic] of Mr. Tarantino’s
18    original hand-written Screenplay.”).
19         C.     Miramax Has Alleged Facts Sufficient to Establish a Claim for Breach
20                of Contract
21          Defendants conspicuously avoid citing either the Original Rights Agreement
22    or Miramax’s Complaint in claiming that Miramax has failed to state a breach of
23    contract claim. See Motion at 20-22. Both the Original Rights Agreement and
24    Complaint are clear that Tarantino’s contractual grants and assignments of virtually
25    all of his rights in and to Pulp Fiction, pursuant to Paragraph 2 of the Original Rights
26    Agreement, “prohibit Defendants from exploiting or licensing those same rights to
27    develop and sell the Pulp Fiction NFTs.” Complaint, ¶ 53. There are also questions
28    in this case regarding whether Defendants’ sale of the Pulp Fiction NFTs breached
                                                 22
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 1    Miramax’s rights and Defendants’ obligations under the Original Rights Agreement,
 2    which govern “Merchandising” and Miramax’s right of first negotiation and last
 3    matching rights to certain of Tarantino’s “Reserved Rights.”
 4          Defendants cite no authority for the proposition that Miramax cannot bring
 5    both a copyright infringement claim and a related breach of contract claim.17 The
 6    lone case Defendants cite is no exception, and was distinguishing a contract claim and
 7    a copyright claim in evaluating whether the dispute had been properly subject to a
 8    contractual arbitration provision. See Kamakazi Music Corp. v. Robbins Music Corp.,
 9    522 F. Supp. 125, 131 (S.D.N.Y. 1981) (holding that the contractual arbitration clause
10    covered claims for “copyright infringement, interference with contractual rights and
11    related violations of state law”). Here there is no dispute that Miramax brought its
12    claims in accordance with the Original Rights Agreement’s provision governing
13    “Remedies/Forum,” pursuant to which the parties consented to the personal
14    jurisdiction of this Court for “any dispute relating to the subject matter” of the
15    Original Rights Agreement. Original Rights Agreement, ¶ 29.
16         D.     Miramax Has Alleged Facts Sufficient to Establish a Claim for
17                Trademark Infringement and Unfair Competition
18          Defendants’ only argument in the Motion regarding Miramax’s trademark and
19    unfair competition claims is circular, and wholly dependent on Defendants’ flawed
20    premise that they had the right to mint and sell the Pulp Fiction NFTs. Miramax
21    agrees with Defendants that Tarantino can refer to the title of the film Pulp Fiction
22    “in association with the exploitation of rights he reserved under the parties’
23
      17
24       “Under California law, there are four elements of a breach of contract claim: (1) a
      valid contract between the parties; (2) performance by the plaintiff (3) an unjustified
25    or unexcused failure to perform by the defendant; and (4) damages to plaintiff
      caused by the breach. State law breach of contract claims are
26    generally not preempted by the Copyright Act, so long as the claim is based on
      allegations of a contractual right not existing under copyright law.” CBS
27    Broadcasting Inc. v. Counterr Group, 2008 WL 11350274, at *8 (S.D.N.Y. Aug.
      26, 2008) (internal quotation marks and citations omitted). Thus, perhaps
28    unsurprisingly, Defendants do not argue that Miramax’s contract claim is preempted
      by the Copyright Act.
                                                  23
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 1    agreements.” Motion at 22. Paragraph 2 of the Original Rights Agreement expressly
 2    grants this: “Tarantino shall have the right to use the title of the Film in connection
 3    with the exploitation of the Reserved Rights.” That limited grant of rights to
 4    Tarantino would be superfluous if his rights in and to Pulp Fiction were as broad as
 5    Defendants claim throughout their papers.
 6          Because Defendants have not shown as a matter of law that all of their conduct
 7    is covered by Tarantino’s “Reserved Rights,” this argument fails.
 8                                        CONCLUSION
 9          Based on the foregoing, Miramax respectfully requests that this Court deny
10    Defendants’ motion for judgment on the pleadings. Should the Court disagree,
11    Miramax respectfully requests leave to amend. See, e.g., Harris v. County of Orange,
12    682 F.3d 1126, 1131 (9th Cir. 2012) (Under Rule 12(c), “dismissal with prejudice and
13    without leave to amend is not appropriate unless it is clear . . . that the complaint could
14    not be saved by amendment.”); Adom v. City of Los Angeles, 2022 WL 2189516, at
15    *2 (C.D. Cal. May 4, 2022) (“[A] district court should grant leave to amend even if
16    no request to amend the pleading was made, unless it determines that the pleading
17    could not possibly be cured by the allegation of other facts.” (internal quotation marks
18    omitted)).
19
       Dated: June 30, 2022                 PROSKAUER ROSE LLP
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